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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

In re                                     §
                                          §
                                                          Chapter 11
HIGHLAND CAPITAL MANAGEMENT,              §
L.P.,                                     §
                                                    Case No. 19-34054-sgj11
                                          §
        Debtor.                           §
                                          §
HIGHLAND CAPITAL MANAGEMENT,              §
L.P.,                                     §
                                          §
        Plaintiff,                        §
                                          §
                                                      Adv. No. 21-03004
v.                                        §
                                          §
HIGHLAND CAPITAL MANAGEMENT               §
FUND ADVISORS, L.P.                       §
                                          §
        Defendant.                        §

        DEFENDANT’S SECOND MOTION FOR LEAVE TO AMEND ANSWER
                     AND BRIEF IN SUPPORT THEREOF


                              Davor Rukavina, Esq.
                             Texas Bar No. 24030781
                               Julian P. Vasek, Esq.
                             Texas Bar No. 24070790
                       MUNSCH HARDT KOPF & HARR, P.C.
                          500 N. Akard Street, Suite 3800
                            Dallas, Texas 75202-2790
                            Telephone: (214) 855-7500
                            Facsimile: (214) 978-4375

                      COUNSEL FOR HIGHLAND CAPITAL
                      MANAGEMENT FUND ADVISORS, L.P.




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         DEFENDANT’S SECOND MOTION FOR LEAVE TO AMEND ANSWER
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TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

        COMES NOW Highland Capital Management Fund Advisors, L.P. (“HCMFA” or the

“Defendant”), the defendant in the above styled and numbered adversary proceeding (the

“Adversary Proceeding”) commenced by Highland Capital Management, L.P. (the “Debtor”), and

files this its Defendant’s Second Motion for Leave to Amend Answer and Brief In Support Thereof

(the “Motion”), respectfully stating as follows:

                                           I.      SUMMARY1

        1.       By this Motion, HCMFA requests leave to amend its answer to expressly deny that

the Notes were signed. HCMFA does not concede that this relief is required, as it has already

denied that it signed the notes—Mr. Waterhouse purportedly signed them as maker. However, the

Uniform Commercial Code (“U.C.C.”) appears to require a more express denial of signature.2

        2.       This is not an ordinary note case. The way that the Notes were signed, the fact that

they did not go through “legal,” the absence of evidence that anyone involved was told that the

underlying transfers were loans—accounting personnel assumed the transfers to be loans— and

the fact that the Debtor was liable to HCMFA for causing a valuation error that led to $7.4 million

in liabilities, which was the purpose of the transfers; i.e. compensation, all demonstrates that the

Notes are a mistake created by Debtor employees in good faith based on their assumptions, and

not the facts. Indeed, it is now apparent that Mr. Waterhouse did not sign the Notes or authorize

his electronic signature.




        1
                This Motion is supported by the Defendant’s Appendix in Support of Second Motion for Leave to
Amend Answer, filed concurrently herewith, and cited to herein as HCMFA APP.
        2
                 See TEX. BUS. & COMM. CODE ANN. 3.308(a).

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       3.        This case is an example of how one mistake and assumption snowballs and leads

to another, which leads to another, and which leads to yet another, with a plaintiff now seeking to

exploit these mistakes—its own mistakes, by the way—rather than looking at the actual facts:

       Step 1.          Mr. Dondero went to Mr. Waterhouse and told Mr. Waterhouse to transfer
                        $7.4 million to HCMFA. Mr. Dondero never told Mr. Waterhouse that this
                        was a loan; just to transfer the funds. In fact, the transfers were
                        compensation from the Debtor to HCMFA because the Debtor, through its
                        negligence, created a $7.4 million liability of HCMFA to third parties. Mr.
                        Dondero never told Mr. Waterhouse that the transfers were loans.

       Step 2.          Mr. Waterhouse did not have the authority to enter into a loan of this size
                        either for HCMFA or the Debtor. He simply told his controller to transfer
                        the funds and put the matter out of his head.

       Step 3.          That controller, pursuant to a multi-year course of conduct and many other
                        inter-company promissory notes, asked a subordinate to paper the transfers
                        as loans, assuming that they must be loans because intercompany transfers
                        are usually booked as such and the auditors need paper notes.

       Step 4.          The subordinate, who is not a lawyer, took a Word document form, years
                        old, and populated it, instead of going through the legal department. And,
                        instead of asking Mr. Waterhouse to sign the notes, she affixed a .jpg image
                        of his signature to the Notes, without authority from him.

       Step 5.          Now that there are notes in the system, and even though none of them know
                        anything about it, accountants and auditors do what they do: they record and
                        report the Notes, thereby breathing life into something that should never
                        have been.

       Step 6.          Complicating matters, there were prior promissory notes from HCMFA to
                        the Debtor in the amounts of $6.3 million—similar to $7.4 million—such
                        that persons subsequently reviewing books and records would naturally
                        have assumed that HCMFA’s books, which carried the Notes, were
                        referring to these old notes and not something new, such that the mistake
                        was not caught until after this litigation commenced.

                                          II.     TIMING

       4.        NexPoint will first address timing issues, since the Debtor is certain, as it always

does, to allege that NexPoint somehow delayed in asserting a right, conveniently ignoring that it

had NexPoint’s documents, that it had secured an injunction preventing Mr. Dondero from talking


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to Debtor employees, and that it had instructed its key employees not to communicate with

HCMFA regarding this litigation. HCMFA APP 3-6. The following dates are key:

        (i)      April, 2021. Mr. Sauter interviews Mr. Waterhouse, who basically informs him
                 that, as he did not use electronic signatures in May, 2019, if a note has his signature,
                 then he must have signed it. Id. 7 (¶ 23). HCMFA at that time has no reason to
                 question this. See id.

        (ii)     May 28, 2021. HCMFA serves a request for production on the Debtor, which
                 includes “[a]ll Microsoft Word copies of the Notes, including Metada.” Id. 819.

        (iii)    The Debtor does not produce the same. Id. 815 (¶ 5). As late as October 19, 2021,
                 as HCMFA is deposing Mr. Waterhouse—the person who purportedly signed the
                 Notes—the Debtor is still refusing to produce the original Word documents of the
                 Notes.3

        (iv)     October 19, 2021. The Debtor and HCMFA depose Mr. Waterhouse, who testifies
                 that he does not remember signing the Notes and, if he authorized someone to affix
                 his electronic signature to the Notes (even though he was not sure this was being
                 done in May, 2019), then there would be an e-mail from him to an administrative
                 assistant so authorizing. See Discussion, infra, at pp. 12-16.

        (v)      October 25, 2021. The Debtor finally produces the original of the Notes. HCMFA
                 APP 815 (¶ 5). This confirms that the signature of Mr. Waterhouse is not even an
                 electronic signature, but rather a .jpg image of his signature affixed to the Word
                 version (not even the .pdf version) of the Notes. See Discussion, infra, at pp. 20-
                 21.

        (vi)     October 27, 2021. HCMFA deposes Mr. Klos and Ms. Hendrix and learns that Ms.
                 Hendrix affixed Mr. Waterhouse’s signature to the Notes, apparently assuming that
                 this was authorized, but without actual authority to do so. No document authorizing
                 Ms. Hendrix to so do has been produced. See Discussion, infra, at pp. 19-23. See
                 HCMFA APP 815 (¶ 6).

        5.       Through no fault of HCMFA, it was not until the completion of these depositions

that HCMFA learned that Mr. Waterhouse did not sign the Notes and that he did not authorize his




        3
                 “John, I also asked you for the Word versions of these notes so we could look at the properties,
and you have not provided them.ꞏ Are you intending to?

        MR. MORRIS:ꞏ No.”

HCMFA APP 198 (146:12-17).

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electronic signature to the Notes. In that respect, discovery worked as it should, and HCMFA

should now have the ability to amend its Answer accordingly.

                               III.    BACKGROUND FACTS

A.     THE NOTES, THE ADVERSARY PROCEEDING, AND HCMFA’S DEFENSE

       6.      On January 22, 2021, the Plaintiff filed its Complaint for (i) Breach of Contract

and (ii) Turnover of Property of the Debtor’s Estate (the “Complaint”), thereby initiating this

Adversary Proceeding. By the Complaint, the Debtor seeks to recover on two demand promissory

notes allegedly issued by HCMFA (the “Notes”) and signed by Frank Waterhouse (“Waterhouse”):

(i) a note dated May 2, 2019 in the amount of $2.4 million; and (ii) a note dated May 3, 2019 in

the amount of $5 million.

       7.      Each of the Notes, in its body, defines “maker” as HCMFA. On the signature pares,

however, the Notes say:

                                                    MAKER:




                                                    FRANK WATERHOUSE

       8.      Mr. Waterhouse does not sign the Notes in any representative capacity, such as

“Treasurer” or “Chief Financial Officer.” (Dkt. No. 1 at exh. 1 & 2).

       9.      On May 22, 2021, HCMFA filed its Defendant’s Motion for Leave to Amend

Answer (Dkt. No. 32), and on July 2, 2021, the Court entered its Order Granting Defendant’s

Motion to Amend (Dkt. No. 45). Accordingly, on July 6, 2021, HCMFA filed its Defendant’s

Amended Answer (Dkt. No. 48), asserting various affirmative defenses, including that Waterhouse

did not have authority to execute the Notes on behalf of HCMFA and that, therefore, HCMFA did

not sign the Notes. (Dkt. No. 48 at pp. 5-7).


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        10.      The purpose of this prior amendment was to assert that the Notes were executed by

mistake, which is also relevant to the present Motion. Pursuant to a Shared Services Agreement,

HCMFA contracted with the Debtor, for pay, for the Debtor to provide various valuation services

to HCMFA as it advises various funds. HCMFA APP 13-25. The Debtor made a mistake relating

to a valuation issue for one of those funds, Highland Global Allocation Fund, and specifically the

valuation of TerreStar. Id. 325-330 (273:10-278:13). This mistake led to liability at HCMFA of

$7.4 million. See id. It is HCMFA’s position that this was the Debtor’s liability under the Shared

Services Agreement, as the Debtor breached the standard of care and its duties as specified in the

agreement. See, e.g., id. 18 (§ 6.01). Soon thereafter, as HCMFA needed money (both to pay the

remaining portion of that liability and to pay a $5 million consent fee to the investors of a fund),

Highland transferred these sums ($7.4 million) to HCMFA. Id. 334-35 (282:24-283:5). This was

done at the direction of Mr. Dondero, who believed that it was proper for Highland to transfer

these funds to compensate HCMFA for Highland’s valuation error, and not as a loan from the

Debtor to HCMFA.4 HCMFA APP 334-35 (282:12-283:7).

        11.      As detailed below, that is when the errors and assumptions began: The Debtor’s

(and HCMFA’s) Chief Financial Officer, Frank Waterhouse (“Waterhouse”), perhaps assumed

that, when Mr. Dondero told him to transfer the funds, it was a loan, even though Mr. Dondero

never told him that it was a loan; the Debtor’s controller, David Klos (“Klos”), when told to

transfer the funds by Mr. Waterhouse, assumed that this was a loan and assumed that promissory

notes should be prepared; and Kristin Hendrix (“Hendrix”), Mr. Klos’ subordinate, prepared the

Notes as instructed by Mr. Klos, and purported to electronically sign Mr. Waterhouse’s name to


        4
                 This is further evidenced because the source of the funds that the Debtor used to pay HCMFA came
from funds paid into the Debtor by Mr. Dondero. Clearly Mr. Dondero knew what was going on, and clearly he
intended the subsequent transfer to be compensation. Otherwise he could have just transferred funds to HCMFA
directly.

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the Notes. All of these individuals, in the accounting group and not the legal group, simply

assumed that funds flowing from the Debtor to HCMFA must be loans, and therefore that the loans

must be “papered up” for accounting and audit purposes, as had been done many, many times in

the prior fifteen years.

        12.     The Debtor will point out instances where HCMFA carried the Notes as liabilities

on its books and records. There is evidence of that, but there is also evidence otherwise. That is

not conclusive, however, or even necessarily persuasive to the jury—of course the same

accounting personnel who assumed that the transfers were loans would then carry the resulting

(mistaken) Notes on the books and records.

B.      WATERHOUSE’S DEPOSITION AND ADMISSION OF MISTAKE

        13.     As noted, Mr. Waterhouse signed the Notes as “maker.” Certainly, his signature

does not indicate any representative capacity such as “treasurer” or as “CFO.” In the body of the

Notes, “Maker” is defined as HCMFA. Thus, there is ambiguity and, more importantly, prima

facie liability for Mr. Waterhouse.

        14.     Here, the Texas U.C.C. contemplates this potential and directly applies, providing

as follows:

        (1) If the form of the signature shows unambiguously that the signature is made on
        behalf of the represented person who is identified in the instrument, the
        representative is not liable on the instrument.

        (2) Subject to Subsection (c), the representative is liable on the instrument to a
        holder in due course that took the instrument without notice that the representative
        was not intended to be liable on the instrument if (i) the form of the signature does
        not show unambiguously that the signature is made in a representative capacity, or
        (ii) the represented person is not identified in the instrument. With respect to any
        other person, the representative is liable on the instrument unless the representative
        proves that the original parties did not intend the representative to be liable on the
        instrument.




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TEX. BUS. & COMM. CODE ANN. § 3.402(b). The comments to the U.C.C. explain with an

analogous situation:

         Case # 3. The name “Richard Roe” is written on the note and immediately below
         that name Doe signs “John Doe” without indicating that Doe signed as agent.

         In each case Doe is liable on the instrument to a holder in due course without notice
         that Doe was not intended to be liable. In none of the cases does Doe’s signature
         unambiguously show that Doe was signing as agent for an identified principal. A
         holder in due course should be able to resolve any ambiguity against Doe.

         But the situation is different if a holder in due course is not involved. In each case
         Roe is liable on the note. Subsection (a). If the original parties to the note did not
         intend that Doe also be liable, imposing liability on Doe is a windfall to the person
         enforcing the note. Under subsection (b)(2) Doe is prima facie liable because his
         signature appears on the note and the form of the signature does not unambiguously
         refute personal liability. But Doe can escape liability by proving that the original
         parties did not intend that he be liable on the note. This is a change from former
         Section 3-403(2)(a).

U.C.C. cmt. 3.

         15.     Mr. Waterhouse was asked at length about his potential personal liability on the

Notes:

         Q.ꞏ ꞏOkay.ꞏ But back then when you signed this, did it ever cross your mind that
         you were the maker on these notes?

         A.ꞏ ꞏ No.

         Q.ꞏ ꞏ Back then when you signed this document, did it ever cross your mind that
         you could be a co-obligor on these notes?

         A.ꞏ ꞏ No.ꞏ I didn’t receive $7.4 million, I mean...

                                           *       *       *

         Q.ꞏ ꞏ So putting all other issues aside, if the law -- if the law says that you were
         liable for those notes because of how you signed them, then would you agree with
         me that these notes are a mistake?

         MR. MORRIS:ꞏ Objection to the form of the question.

         MS. DANDENEAU:ꞏ Objection to the form.


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       A.ꞏ ꞏ Yes.

HCMFA APP 357-59 (305:16-307:4).

       16.     Given that the law makes Mr. Waterhouse prima facie liable for the Notes, even

though that was not his intention, the Notes are a mistake and Mr. Waterhouse admitted that they

are a mistake. More to the point however, Mr. Waterhouse testified extensively regarding whether

he signed (or did not sign) the Notes. This is important because, when HCMFA first interviewed

Mr. Waterhouse regarding the Notes (once he was no longer prohibited by the Debtor from

communicating with HCMFA regarding litigation matters), Mr. Waterhouse stated that, if the

Notes bear his signatures, then he must have signed them as he did not use an electronic signature

in May, 2019. HCMFA APP 7 (¶ 23). In other words, even though HCMFA had reason to believe

that the Notes were a mistake, it had no reason at that time to believe that Mr. Waterhouse did not

actually sign the Notes.

       17.     This changed when HCMFA deposed Mr. Waterhouse on October 19, 2021. The

deposition began with Mr. Waterhouse repeatedly testifying that he did not recall signing the

Notes, even though the signatures were his. “I don’t recall specifically signing this, but this is my

signature.” HCMFA APP 193 (141:4-7). In other words, as he had told HCMFA in April, 2021,

given that the signature is his, he must have signed the Notes. As detailed below, however, once

Mr. Waterhouse reviewed the Notes and confirmed that they contain his electronic signatures, it

became clear that he did not sign the Notes and, equally as importantly, that he did not authorize

his electronic signature to the Notes.

       18.     First, Mr. Waterhouse confirmed some background facts. He confirmed that he, as

the CFO for the Debtor and an officer of HCMFA, would not have had the authority on his own

to cause the Debtor to lend, or HCMFA to borrow, $7.4 million [subject to objection]. Only Mr.



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Dondero would have had that authority [subject to objection]. HCMFA APP 322-25 (270:18-

273:9). Mr. Waterhouse admitted that, as a result of the TerreStar valuation error, shareholders in

funds advised by HCMFA had damages of between $7 and $8 million. Id. 329-30 (277:7-278:13).

Mr. Waterhouse confirmed that Mr. Dondero told him to transfer funds from the Debtor to

HCMFA:

       I testified earlier, that I had a conversation with Mr. Dondero for -- for these
       amounts attributable to – it was either the error -- you know, the error, and in that
       conversation he said, go get the money from Highland.

Id. 334-35 (282:24-283:5).

       19.     Critically, Mr. Waterhouse could not remember if Mr. Dondero told him this was a

loan. Id. 336 (284:4-6). Mr. Waterhouse did not remember if Mr. Dondero told him to have

promissory notes prepared. Id. 336 (284:18-20). Regarding the genesis of the Notes, Mr.

Waterhouse testified:

       Q. Okay. And would you have signed two promissory notes obligating HCMFA to
       pay Highland $7.4 million without Mr. Dondero’s prior knowledge and approval?

       MS. DEITSCH-PEREZ: Object to the form.

       A. You know, from -- from what I recall around these notes, you know, I don’t
       recall specifically Mr. -- Mr. Dondero saying to – to make this a loan. So my
       conversation with Mr. Dondero around the culmination of the NAV error as related
       to TerreStar which was a -- a – I think it was a year and a half process. I don’t know,
       it was a multi-month process, very laborious, very difficult. When we got to the
       end, I had a conversation with Mr. Dondero on where to, you know, basically get
       the funds to reimburse the fund, and I recall him saying, get the money from
       Highland.

       Q. And so he told you to get the money from Highland; is that right?

       A. That is what I recall -- in my conversation with him, that is -- that is what I can
       recall.




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HCMFA APP 196-97 (144:14-145:22). Asked if he would disagree with Mr. Dondero that Mr.

Dondero never told him to make the transfers loans, Mr. Waterhouse testified [subject to

objection]: “all I recall is he said, get the money from Highland.” Id. 370 (318:3-10). Continuing:

       And you don’t remember discussing with Mr. Dondero what the terms of those two
       promissory notes should be?

       A. I don’t recall -- I testified all I recall is he said, get the money from Highland.
       I don’t -- the -- the terms of the note, I don’t recall ever having a discussion around
       the terms of the note, but since I don’t draft the notes, that -- there could have been
       a conversation with other people later.

Id. 371 (319:7-16).

       20.     When asked whether it was possible that, “when Mr. Dondero told you to transfer

the funds from Highland, you just assumed on your own that those would be loans without him

actually telling you that those would be loans,” Mr. Waterhouse testified [subject to objection] that

“I don’t know.” HCMFA APP 339 (287:4-13). Asked again whether, seeing $7.4 million being

transferred out of the Debtor, whether it is possible that he assumed this to be a loan, Mr.

Waterhouse answered [subject to objection]:

       I don’t know.ꞏ As I testified earlier, I had conversations with Mr. Dondero about -
       - about the -- the -- the moneys that were needed for the NAV error.ꞏ And I recall
       him saying go get it from Highland -- or get it from Highland.

Id. 340-41 (288:19-289:8). In fact, Mr. Waterhouse confirmed that it was on his “initiative” to

have the Notes drafted [subject to objection]. Id. 342 (290:4-16). And, Mr. Waterhouse believed

that the legal team would be involved with drafting the notes. Id. 342 (290:15-16).

       21.     Mr. Waterhouse did not recall if the Notes were presented to him on paper form to

sign. Id. 344-45 (292:14-293:17). Mr. Waterhouse testified:

       I signed very few documents via email.ꞏ I can’t say that it never happened, but
       people either stopped by my office and physically walked in documents for
       signature that we discussed face-to-face.



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Id. 345-46 (293:25-294:5). And, before signing documents, Mr. Waterhouse would usually have

the legal department or the compliance department sign off on the document. Id. 346-348 (294:16-

296:7). When asked again if he remembered signing the Notes, Mr. Waterhouse testified [subject

to objection]:

          They would -- they would have been presented physically on paper most likely or
          someone would have left it. But, I mean, again, I don’t -- I don’t recall.”

Id. 348 (296:8-18). And, Mr. Waterhouse confirmed that, back then, he used an “ink pen” to sign

documents, as he told HCMFA in April, 2019. Id. 348 (296:19-25).

          22.    When presented with the Notes and asked whether he believed that he ink-signed

them, Mr. Waterhouse answered:

          These -- these -- these signatures are identical, now that I stare at them, and I mean,
          they are so close -- I mean, they’re identical that, I mean, even with my chicken
          scratch signature, I don’t know if I can – you know, I do this 100 times, could I do
          that as -- as precisely as I see between the two notes.

Id. 350 (298:2-17). Pressed further regarding whether he “actually signed either or both

notes”:

          Is -- I don’t -- I don’t recall specifically. As I said before, my assistant did have a
          -- an electronic signature, and that was used from time to time. It wasn’t as common
          practice back in 2019. It definitely was more common practice when we had to
          work from home and remotely for COVID because it that made it almost impossible
          to, right, provide wet signatures since we’re all working from home remotely.

          Q. Well, going just for these two promissory notes, Mr. Waterhouse, in light of
          your inability to remember any details, are you sure you actually signed either or
          both of those notes?

          MS. DANDENEAU: Objection to form.

          A. I don’t recall specifically signing -- actually physically signing these notes. As
          I said before, I don’t recall doing that. This -- this looks like my signature, but yet
          these two signatures are identical.

          Q. So you don’t recall physically signing them, and I take it you don’t recall
          electronically signing them either?


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       A. I don’t recall. You know, Highland has all my emails. If that occurred, you
       know, you know, I don’t have any of these records is what I’m saying. I don’ t
       have any of those records.

Id. 350-52 (298:300:4).

       23.     Regarding the possibility that Mr. Waterhouse electronically signed the Notes, as

rare as that may have been in May, 2019, Mr. Waterhouse testified as follows:

       And help me here.ꞏ I’m not very technologically astute.ꞏ When you -- and I – I
       recognize that you do it rarely, but when you sign a document electronically, do
       you believe that there is an electronic record of you having authorized or signed a
       document electronically?

       MR. MORRIS:ꞏ Objection to the form of the question.

       I -- I don’t know the tech answer to that, but, you know, since I don’t have – I don’t
       ever attach my signature block electronically, my assistant would have done that,
       and if that is done over email like we did several times -- you know, multiple,
       multiple times over COVID, she would attach my signature block and then email it
       out to whatever party.

       ꞏQ.ꞏ ꞏ What was your assistant's name in May 2019?

       ꞏA.ꞏ ꞏ It was Naomi Chisum.

       ꞏQ.ꞏ ꞏ Is she the only one?ꞏ I’m sorry, was she your only assistant that would have
       maybe facilitated logistically something like you just described?

       A.ꞏ ꞏ You know, she was out on maternity leave at some point.ꞏ I don't -- I don't
       recall those dates where she was out for maternity leave.ꞏ There was -- there were
       folks backing her up.ꞏ I don’t recall specifically who those -- who those, you know,
       administrative assistants were, and I don't recall specifically if she was out during
       this time onꞏmaternity leave.

Id. 372-73 (320:11-321:20).

       24.     Aside from providing valuable testimony regarding the genesis of the Notes, for

purposes of the present Motion Mr. Waterhouse testified: (i) that he does not remember signing

the Notes in person or electronically; (ii) he rarely signed documents in May, 2019 electronically;

(iii) he would have expected that documents he signed were approved by the legal department; (iv)

the Notes strongly appear to be signed electronically; and (v) if signed electronically, he would

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have sent an e-mail authorizing the same. Interestingly, he also testified that it would have been

his “assistant” to sign his name electronically; not Ms. Hendrix, a mid-level manager and not an

“administrative” assistant.

       25.     No such e-mail authorizing Mr. Waterhouse’s electronic signature has been

produced by the Debtor. HCMFA APP 815 (¶ 6).

C.     MR. KLOS’ DEPOSITION AND CREATION OF THE NOTES

       26.     HCMFA deposed Mr. Klos on October 27, 2021. In May, 2021, Mr. Klos was the

controller for the Debtor. HCMFA APP 661 (8:11-13). It is Mr. Klos who directed Ms. Hendrix

to prepare the Notes. Id. 721 (68:4-13). Mr. Klos discussed how funds would be transferred from

one affiliated entity to another as needed for liquidity:

       And you joined Highland in 2009. From that point in time, 2009, through 2019,
       was there any practice at the enterprise of those businesses to transfer funds
       between each other on a basis of when one needed it and one had it?

       A. Yes, that was a fairly, generally speaking, that was a fairly common practice, of
       using different entities within the overall structure to bridge liquidity.

Id. 682-83 (29:24-30:7). Klos also testified as to the standard practice that, where the Debtor was

transferring funds out, the transfer would be booked as a loan:

       So over the general -- talking about generally now, over those 10 years when there
       were these intercompany transfers for liquidity purposes, how were they booked by
       the debtor, by Highland Capital Management?

       MR. MORRIS: Objection to the form of the question.

       THE WITNESS: Help me on the direction. So this is money that Highland is
       receiving or money that Highland is sending?

       Q. (BY MR. RUKAVINA) Sending out.

       A. Sending out. So this is -- in the scenario that you’re describing, this money that
       Highland is sending out to meet some other corporate obligor’s liquidity needs?

       Q. Yes, sir.


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       A. So those would be booked as a loan. I would -- I need to hedge a little bit because
       I’m not a hundred percent certain, but I would say if not exclusively via loans close
       to exclusively.

       Q. And would they -- strike that. Would they usually be papered up with a
       promissory note?

       A. Yes.

       Q. Now, why was that the general course during 10 years? Was there a policy and
       procedure in place, or would Dondero say book it as a loan, or was that just the
       right thing to do from an accounting perspective?

       MR. MORRIS: Objection to the form of the question.

       THE WITNESS: At the end of the day it’s at the direction of Jim Dondero, so I
       can’t tell you exactly why he wanted it to be done that way. But that was certainly
       the practice of how it was done in those situations.

Id. 685-87 (32:20-34:5).

       27.     Thus Mr. Klos believed that the underlying transfers were loans, in part because he

believed that Mr. Waterhouse would have told him that (but could not recall for certain), and in

part because of past practice. Id. 722-23 (69:1-70:14). Mr. Klos described the usual course at the

Debtor with respect to papering intercompany loans:

       Q. (BY MR. RUKAVINA) So going back to this Exhibit 3, sir, why did you ask
       Kristin, can you or Hayley please prep a note for execution? Why them?
       Remember, I was asking about what the course or procedure was at that point in
       time.

       A. Yeah, so nomenclature, procedure, process. I would say the informal process for
       these types of loans, they were frequent in nature, would be for someone on the
       corporate accounting team to prepare a note and have it executed.

       Q. Okay. That was the standard course back then?

       A. Again, I don’t know what standard course means. That was fairly typical.

       Q. Why would you not have asked someone in the Highland legal department to
       prepare a note?

       A. Because this was a legally reviewed document as far as the form of the
       agreement. It’s a one-page, two-paragraph form that had been used for a long time.

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       So the only thing that would change with respect to these notes would be the date,
       the amount, likely the rate. I can’t think of anything else offhand that would have
       changed from note to note.

       Q. After you asked Ms. Hendrix to prepare this note, did you have any further role
       with respect to the papering, preparation, or execution of that note?

       A. Not that I can remember.

       Q. Would you have had any role in having either or both of the notes actually signed
       electronically or by ink by Mr. Waterhouse?

       A. Likely not, no.

Id. 736-37 (83:19-84-24).

       28.     The point is simple: when professional accountants at the Debtor saw funds flowing

from the Debtor to an affiliate, such as HCMFA, they assumed that the funds were a loan and

papered it as such, as this is how it had been done for many years on many occasions.

D.     MS. HENDRIX’S DEPOSITION AND LACK OF AUTHORITY TO SIGN THE NOTES

       29.     HCMFA deposed Ms. Hendrix on October 27, 2021. In May, 2019, Ms. Hendrix

was the senior accounting manager at the Debtor. HCMFA APP 461 (12:4-16). At that time, she

reported to Mr. Klos, who reported to Mr. Waterhouse. Id. 461-62 (12:25-13:9). While Ms.

Hendrix never drafted a promissory note from scratch, in May, 2019, part of her job was taking a

form note and revising it. Id. 466 (17:5-11). At that time, it was the corporate accounting group

at the Debtor, not the legal group, that was responsible for updating draft promissory notes so as

to create new ones. Id. 466 (17:20-25). As Ms. Hendrix testified:

       Our typical practice is if we have a loan with certain affiliates that it’s a demand
       note. We have a template that we have used for years that was created by either our
       internal legal team or an outside law firm, I’m not sure which. The typical practice
       is always updating a few things on that template, getting it executed, and filing it in
       our audit folders.




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Id. 467 (18:18-25). The corporate accounting group, not the legal group, did this “updating.” Id.

468-69 (19:1-13; 20:1-5). And Ms. Hendrix confirmed the general purpose of the intercompany

notes:

         Typically anytime specifically Jim Dondero would need to move money between
         related parties, he would pay down -- when I say him, he would have us in corporate
         accounting move money around, pay off notes, reissue new notes somewhere else.
         So a way to move money around between his entities.

Id. 470 (21:10-16). Stated differently, at that time “it’s all one big happy family, and whoever

needed cash, the cash moved around.” Id. 472 (23:3-6).

         30.    In May, 2019, Mr. Klos sent one or two e-mails to Ms. Hendrix—emails on which

Mr. Waterhouse but not Mr. Dondero or the legal department were copied—informing her that

there were new intercompany loans and asking her to prepare notes for execution. Id. 481-82

(32:13-33:4). This instruction comported with the general practice:

         So is it fair to say that typically, obviously not every time, but typically your
         corporate accounting group when it would see intercompany transfers in large
         amounts would believe that they were loans?

         MR. MORRIS: Objection to the form of the question.

         THE WITNESS: Typically they were loans. There’s not really another way to get
         money from one entity to another. And if they were papered as a loan, that means
         we were told to set it up that way.

Id. 484 (35:5-15). That is “how it was for 14 or 15 years.” Id. 485 (36:7-9).

         31.    Ms. Hendrix confirmed that the $2.4 million Note was “related to a TerreStar NAV

error” and the $5 million Note was for the “consent fee.” Id. 487-88 (38:17-39:5). Ms. Hendrix

was never “told to [her] directly” that the funds were a loan, but she [subject to objection]

“assum[ed] that based on many instances of intercompany transfers in the 14 years prior.” Id. 489

(40:20-25).




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       32.     Ms. Hendrix confirmed that she prepared the Notes from Word documents

originally created by outside counsel. Id. 491 (42:15-43:20). However, Ms. Hendrix had no

memory of papering the Notes. Id. 494 (45:21-46:1). It would have been her practice to not

consult the legal group in preparing the Notes. Id. 495 (46:12-24). Ms. Hendrix confirmed that,

to sign Mr. Waterhouse’s name to the Notes, she used an electronic picture of his signature, which

she then affixed to the Word documents, the same as the undersigned counsel does below:




       33.     On the question of whether Mr. Waterhouse authorized Ms. Hendrix to affix his

signature to the Notes, Ms. Hendrix testified “I don’t have exact specific memory.” Id. 497 (48:10-

15). Again, she appears to have assumed that Mr. Waterhouse must have approved the Notes and,

therefore, her using his signature:

       He was fine with using his e-signature, and what is on these documents was that
       exact e-signature.

                                         *       *       *

       But he would have had to approve this loan in the dollar amount, the day. He would
       have been the one directing us to create these loans. In past practice he has always
       approved using his e-signature to execute documents.

Id. 497(48:4-18). When pressed about how Mr. Waterhouse would have authorized his electronic

signature to be used, Ms. Hendrix testified as follows [subject to objection]:

       I would assume that, as I’ve stated previously, these directions were coming
       directly from him to paper a loan. These changes that are made are only to the
       dollar amount. Interest rate is pulled right off the IRS website. That is his approval
       to paper a loan and in fact execute or approve the loan.

Id. 497-98 (48:24-49:5).




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       34.     Then, when asked [subject to objection] “after his e-signature was used either on

these notes or other documents in May of 2019, would you have brought the documents back to

him for any kind of verification,” Ms. Hendrix testified:

       Probably not. These are all very standard. We’ve papered hundreds of loans. So
       I think he trusted that we can handle updating a date and a dollar amount on these
       loan templates.

Id. 499 (50:1-9).

       35.     Ms. Hendrix also testified [subject to objection], differently from Mr. Waterhouse,

that “[p]robably at this time, 99 percent of the stuff my team got his signature on was his e-

signature.” Id. 498 (49:12-16). And, the following exchange is significant:

       Q. (BY MR. RUKAVINA) Do you know or believe, or your recent review of
       documents, did it reveal an email from Mr. Waterhouse to you specifically
       authorizing his e-signature on Exhibits 4 and/or 5?

       A. Not that I recall seeing, no.

       Q. Sitting here today, do you have any memory of Mr. Waterhouse orally or
       otherwise specifically authorizing you to affix his e-signature to Exhibits 4 and/or
       5?

       A. Specifically on these loans, no, I don’t recall those conversations. But, again,
       our practice has always been we have this discussion, he’s under the understanding
       that we’re going to paper the loans, he’s always comfortable with using his e-
       signature. This is not something me or my team would have done without that
       authority and approval from him.

Id. 499 (50:15-25).

       36.     And, there is no evidence that Ms. Hendrix ever showed the Notes to Waterhouse

after preparing them:

       Q. Sitting here today, do you have any memory of giving Mr. Waterhouse these
       two promissory notes after they were prepared?

       A. I specifically don’t remember walking into his office and providing it to him,
       but he could have found it on our shared drive if he wanted to.



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       Q. Do you have any memory or in your recent review of documents did you see
       any email to the effect of you sending either or both of these promissory notes to
       Mr. Waterhouse after they were papered up?

       A. I don’t have any specific recollection, again, but he had access to look at them.

       Q. On the shared drive?

       A. Yes.

Id. 503 (54:4-17). Scanning in the Notes and then saving them to the system, is hardly a substitute

for showing or giving them to the man who is personally liable on them to the tune of $7.4 million.

       37.     Ms. Hendrix assumed that the transfers were loans and assumed that Mr.

Waterhouse authorized her to affix his signature to the Notes because she assumed that he

approved of the Notes. But her testimony directly conflicts with his: whereas he testified that he

rarely used electronic signatures in May, 2019, and would have had to send an e-mail authorizing

the same, and would have expected that the legal department would approve a note prior to his

signature, she testified that he routinely did this at that time pursuant to some generalized authority

and that the accounting department routinely papered notes.

       38.     The fact remains that, notwithstanding her good faith, Ms. Hendrix created

erroneous notes (as they appear to make Mr. Waterhouse the “maker” and to make him jointly and

severally liable), and she was not authorized—at least there is no evidence that she was

authorized—to affix images of Mr. Waterhouse’s signature to the Notes or, if there was some

generalized authority that she believed Mr. Waterhouse gave her, then the condition precedent—

that the legal department approve the Notes—was not satisfied.

                          IV.     ARGUMENTS AND AUTHORITIES

       39.     This Motion is necessarily driven by the facts; hence the lengthy discussion of

recent discovery proceedings above. From those facts, the following sequence emerges:



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       (i)     Mr. Dondero told Mr. Waterhouse to transfer the fuds, and Mr. Waterhouse does
               not recall Mr. Dondero telling him that this was a loan, perhaps assuming this to be
               the case.

       (ii)    Mr. Waterhouse told Mr. Klos to process the transfers, and perhaps he also told him
               that the funds are a loan. Either way, pursuant to standard practice, Mr. Klos
               believed that the funds were a loan and instructed others to paper up the Notes,
               without any instruction from Mr. Dondero that the transfers were a loan.

       (iii)   Ms. Hendrix then, again pursuant to standard practice, took an old form for a note
               and populated it with new details and created the Notes.

       (iv)    Mr. Waterhouse did not sign the Notes. Instead, Ms. Hendrix affixed pictures of
               his signature on the Notes. She did not then provide the Notes to him.

       (v)     There is no evidence that Mr. Waterhouse authorized Ms. Hendrix to do so. Neither
               Mr. Waterhouse nor Ms. Hendrix remembers any such express authorization.
               Moreover, Mr. Waterhouse confirmed that, if he authorized an electronic signature,
               he would have e-mailed such authority to his administrative assistant. Ms. Hendrix
               was not his administrative assistant. And, Mr. Waterhouse confirmed that he would
               only sign a note if the legal department approved the note, which did not occur here.

       40.     HCMFA therefore submits that Ms. Hendrix, in good faith and acting pursuant to

an established course and pattern, was not authorized to affix Mr. Waterhouse’s signature to the

Notes. Instead, she assumed that, as Mr. Waterhouse had authorized the Notes, she was authorized

to sign them for him. And, despite Mr. Waterhouse’s expectations, none of this went through the

legal department. Hence the result, where Mr. Waterhouse signed as “maker” and is prima facie

jointly liable, something that he confirmed was a mistake. But it is the same note—if that is a

mistake, then so is the whole note.

       41.     Importantly, the Scheduling Order does not provide for a deadline to seek leave to

amend the operative pleadings. See Docket No. 67. This means that, unlike the heightened “good

cause” standard under Rule 16, the more lenient standard of Rule 15 applies to this Motion. That

rule provides that “[t]he court should freely give [leave] when justice so requires.” FED. R. CIV.

P. 15(a)(2). The Court must “possess a ‘substantial reason’ to deny a request for leave to amend.”

Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004). The Fifth Circuit has outlined five

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“considerations” guiding the Rule 15 inquiry: “1) undue delay, 2) bad faith or dilatory motive, 3)

repeated failure to cure deficiencies by previous amendments, 4) undue prejudice to the opposing

party, and 5) futility of the amendment.” Id.

         42.   There has been no undue delay. As discussed above and evidenced with the

Appendix, HCMFA did not know that Mr. Waterhouse did not sign the Notes until his deposition,

as he had previously told HCMFA that he assumed he must have signed the Notes since the Notes

bear his signature. It is the Debtor who delayed in producing the original Notes, requested in May,

2021, until late October, 2021, going so far as to even say that it would not produce the originals

on October 19, 2021 (a decision which, to its credit, it subsequently reversed). Had the Debtor

produced the originals in May or June, as requested, it would have been obvious that the signatures

were electronic signatures, and perhaps HCMFA would have reasonably questioned any authority

to sign, but this did not happen due to the Debtor’ delay. And, it was not until HCMFA deposed

Mr. Waterhouse, Ms. Hendrix, and Mr. Klos that the facts were learned. There is nothing that

HCMFA could have done to expedite this process. On the contrary, discovery worked as it should

have.

         43.   There is no bad faith or dilatory motive. All of HCMFA’s defenses are made in

good faith and are supported by the evidence. That evidence may be subject to dispute and to

contradictory evidence, but then that is the point of a trial. Certainly, there is enough testimony

and evidence to support the defense that Mr. Waterhouse did not sign the Notes or authorize their

signing. Nor is HCMFA trying to “weasel” its way out of a debt: the Debtor, through its

negligence, caused a $7.4 million liability to HCMFA. It was just and proper for the Debtor to

compensate HCMFA, which it did. None of this is “invented” after the fact or presented in bad

faith.



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       44.     There are no repeated failures to cure deficiencies. True, this is the second motion

to amend the answer. But, the first motion was necessitated by the simple fact that HCMFA did

not have access to its books and records (then still under the control of the Debtor), and the Debtor

had prohibited its employees, including Mr. Waterhouse, from discussing litigation matters with

HCMFA. In many ways, that first motion should not have to count against HCMFA. Either way,

for the same reasons as discussed above with respect to timing, HCMFA did not know and could

not have known about this defense until the end of October, 2021, meaning that there was no prior

“deficiency” to now cure.

       45.     There is no undue prejudice to the Debtor. Trial is not set. All of the people with

knowledge of the Notes have been deposed, and if the Debtor needs additional discovery, then it

can readily take it. The Debtor certainly believes that it already has strong arguments as to why

HCMFA’s defenses have no merit, as it will no doubt present in opposition to this Motion. And,

as the Debtor has had possession of the originals of the Notes all of this time, and as Ms. Hendrix

and Mr. Klox are still the Debtor’s employees, as was Mr. Waterhouse through February, 2021,

none of what is stated in this Motion should come as a surprise to the Debtor, as much as the

Debtor may disagree with HCMFA’s position and arguments.

       46.     Finally, the amendment is not futile. Texas law provides for a recognized defense

when a promissory note is not signed. See TEX. BUS. & COMM. CODE ANN. § 3.401(a).

       47.      Mr. Waterhouse, Mr. Klos, and Ms. Hendrix have each given testimony that raises

serious doubt regarding whether Mr. Waterhouse actually signed the Notes or authorized his

electronic signature—something that the Court cannot adjudicate at this stage. The Debtor will

have every opportunity to argue at trial why the defense is wrong, and it will have every

opportunity to present its evidence.



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       48.     Accordingly, as no substantial reason exists to deny the amendment, and the

interests of justice support freely granting leave, the Court should grant leave to the Defendant to

amend its Answer.

                                        V.      PRAYER

       WHEREFORE, PREMISES CONSIDERED, HCMFA respectfully requests that the Court

enter an order: (i) granting this Motion; (ii) granting HCMFA leave to file the Amended Answer

attached hereto as Exhibit “A”; and (iii) granting HCMFA such other and further relief to which it

may be justly entitled.

       RESPECTFULLY SUBMITTED this 30th day of November, 2021.

                                              MUNSCH HARDT KOPF & HARR, P.C.

                                              By: /s/ Davor Rukavina
                                                   Davor Rukavina, Esq.
                                                   Texas Bar No. 24030781
                                                   Julian P. Vasek, Esq.
                                                   Texas Bar No. 24070790
                                                   3800 Ross Tower
                                                   500 N. Akard Street
                                                   Dallas, Texas 75201-6659
                                                   Telephone: (214) 855-7500
                                                   Facsimile: (214) 855-7584
                                                    Email: drukavina@munsch.com

                                              COUNSEL FOR HIGHLAND CAPITAL
                                              MANAGEMENT FUND ADVISORS, L.P.




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                                 CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that he discussed the relief requested herein with John
Morris, Esq., counsel of record for the Debtor, who informed the undersigned that the Debtor
opposes said relief.

                                           /s/ Davor Rukavina
                                           Davor Rukavina




                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 30th day of November, 2021, true and
correct copies of this document were electronically served by the Court’s ECF system on parties
entitled to notice thereof, including on the Plaintiff through its counsel of record.

                                           /s/ Davor Rukavina
                                           Davor Rukavina




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